      22-01023-tmd Doc#1-1 Filed 04/18/22 Entered 04/18/22 14:16:53 Adversary Coversheet
                                          Pg 1 of 2
FORM 104 (10/06)


                                                                                                               ADVERSARY PROCEEDING NUMBER
             ADVERSARY PROCEEDING COVER SHEET                                                                  (Court Use Only)
                     (Instructions on Reverse)

 PLAINTIFFS                                                                             DEFENDANTS
                                                                                        Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC
Neil Heslin

ATTORNEYS (Firm Name, Address, and Telephone No.)                                       ATTORNEYS (If Known)
Farrar & Ball, LLP, 1117 Herkimer St., Houston, TX,                                     Feritta & Reynal LLP, 917 Franklin St., STE 600, Houston
77008, 713-221-8300                                                                     TX 77002
 PARTY (Check One Box Only)                                                             PARTY (Check One Box Only)
 □ Debtor     □ U.S. Trustee/Bankruptcy Admin                                           □ Debtor     □ U.S. Trustee/Bankruptcy Admin
 □ Creditor   □ Other                                                                   □ Creditor   □ Other
 □ Trustee                                                                              □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Defamation; civil conspiracy.

                                                                        NATURE OF SUIT
                  (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□                                                                                     □
    FRBP 7001(1) – Recovery of Money/Property                                             FRBP 7001(6) – Dischargeability (continued)
    11-Recovery of money/property - §542 turnover of property                             61-Dischargeability - §523(a)(5), domestic support
□   12-Recovery of money/property - §547 preference                                   □   68-Dischargeability - §523(a)(6), willful and malicious injury
□   13-Recovery of money/property - §548 fraudulent transfer                          □   63-Dischargeability - §523(a)(8), student loan
□   14-Recovery of money/property - other                                             □   64-Dischargeability - §523(a)(15), divorce or separation obligation (other
                                                                                             than domestic support)

□
    FRBP 7001(2) – Validity, Priority or Extent of Lien
    21-Validity, priority or extent of lien or other interest in property
                                                                                      □   65-Dischargeability - other



                                                                                      □
                                                                                      FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property                                          71-Injunctive relief – reinstatement of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)             □    72-Injunctive relief – other


□
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                      □
                                                                                      FRBP 7001(8) Subordination of Claim or Interest
    41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                         81-Subordination of claim or interest


□
    FRBP 7001(5) – Revocation of Confirmation
                                                                                      □
                                                                                      FRBP 7001(9) Declaratory Judgment
    51-Revocation of confirmation
                                                                                         91-Declaratory judgment


□
    FRBP 7001(6) – Dischargeability
                                                                                      □
                                                                                      FRBP 7001(10) Determination of Removed Action
    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
□   62-Dischargeability - §523(a)(2), false pretenses, false representation,
                                                                                       1 01-Determination of removed claim or cause

        actual fraud
□                                                                                     □
                                                                                      Other
    67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny           SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.

                       (continued next column)
                                                                                      □    02-Other (e.g. other actions that would have been brought in state court if
                                                                                               unrelated to bankruptcy case)


 □ Check if this case involves a substantive issue of state law                         □ Check if this is asserted to be a class action under FRCP 23
 □ Check if a jury trial is demanded in complaint                                       Demand $          1,000,000.00
 Other Relief Sought
     22-01023-tmd Doc#1-1 Filed 04/18/22 Entered 04/18/22 14:16:53 Adversary Coversheet
                                         Pg 2 of 2
FORM 104 (10/06), Page 2

                     BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR                                                                  BANKRUPTCY CASE NO.
InfoW, LLC (f/k/a Infowars, LLC)                                                22-60022
DISTRICT IN WHICH CASE IS PENDING                  DIVISIONAL OFFICE                 NAME OF JUDGE
Southern District of Texas                         Victoria                          Hon. Christopher M. Lopez
                                    RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF                            DEFENDANT                             ADVERSARY PROCEEDING NO.
Heslin, et al.                        Jones et al.                         22-01021
DISTRICT IN WHICH ADVERSARY IS PENDING             DIVISIONAL OFFICE                 NAME OF JUDGE
Western District of Texas                          Austin
SIGNATURE OF ATTORNEY (OR PLAINTIFF)
  /s/R. J. Shannon


DATE                                 PRINT NAME OF ATTORNEY (OR PLAINTIFF)
04/18/2022                               R. J. Shannon



                                                     INSTRUCTIONS

         The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists
of all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

          A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding
Cover Sheet, if it is required by the court. In some courts, the cover sheet is not required when the adversary proceeding
is filed electronically through the court's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF
captures the information on Form 104 as part of the filing process.) When completed, the cover sheet summarizes basic
information on the adversary proceeding. The clerk of court needs the information to process the adversary proceeding
and prepare required statistical reports on court activity.

         The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is
largely self-explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not
represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and the defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and in the second column for the
defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
by an attorney, the plaintiff must sign.
